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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA


v.                                   NO. 4:09CR00166-002 SWW


JAMES EVON THOMPSON, SR.



                             ORDER AMENDING JUDGMENT

     It    has   come   to    the    Court’s   attention    that   the    Judgment     and

Commitment (doc #124) as to the above-named defendant should be amended

to reflect the following corrections:

            1)      USM number: 25542-009;

            2)      Counsel:     J. Fletcher See, III (appointed).

     All    other   terms      and    conditions     of   defendant’s     Judgment     and

Commitment shall remain unchanged and in full force and effect.

     IT IS SO ORDERED this 1st day of July, 2010.



                                                 /s/Susan Webber Wright

                                               United States District Judge
